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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
 TH/RAB                                            271 Cadman Plaza East
 F. #2025R00212                                    Brooklyn, New York 11201



                                                   June 10, 2025

 The Honorable Kiyo A. Matsumoto
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

               Re:    United States v. Jonathan Braun
                      Criminal Docket No. 10-433 (KAM)

 Dear Judge Matsumoto:

                 The government respectfully submits this letter in advance of the continuation
 of the revocation hearing scheduled for June 13, 2025 at 11 a.m. Danelle is available to
 testify if the Court permits additional cross-examination in connection with Charge 8 of the
 VOSR Addendum. The government also intends to call Special Agent Joseph Costello at the
 hearing and anticipates that the father and the mother of the three-year-old child that was
 assaulted by the defendant will appear and may testify.
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                The government may seek to admit the following exhibits at the continuation
 of the revocation hearing:

              GX25      Certified records from Foxwoods El San Juan Casino
                        (previously marked)
              GX29      Recording of conversation by Victim-1
              GX30      Recording of conversation by Victim-1
              GX31      Text messages sent and received by Victim-1
              GX32      Body Worn Camera Footage Dated August 20, 2024
              GX33      Body Worn Camera Footage Dated August 20, 2024
              GX34      Body Worn Camera Footage Dated August 20, 2024
              GX35      Photographs of Vehicles


                                                   Respectfully submitted,

                                                   JOSEPH NOCELLA, JR.
                                                   United States Attorney

                                           By:       /s/
                                                   Tanya Hajjar
                                                   Rachel Bennek
                                                   Assistant U.S. Attorneys
                                                   718-254-7000

 cc:    Kathryn Wozencroft, Esq. (by email and ECF)
        U.S. Probation Officer Heather Clark (by email)




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